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                           UNITED STATES BANKRUPTCY COURT
                        DISTRICT OF MASSACHUSETTS (WORCESTER)


IN RE:                                     Case No: 23-40098 (EDK)
                                           Chapter 13
Fernando A. Neiva,

                        Debtor.            Re: Doc. 104


         RESPONSE TO DEBTOR’S MOTION FOR AUTHORITY TO SELL ESTATE
           PROPERTY LOCATED AT 45 LIBERTY STREET, MARLBOROUGH,
           MASSACHUSETTS AT PRIVATE SALE PURSUANT TO 11 U.S.C. §363

               COMES NOW, LoanCare, LLC (“Creditor”) and in support hereof, states as follows:

          1.       On February 2, 2023, the Debtor commenced this case by filing a Voluntary

 Petition under Chapter 13 of the United States Bankruptcy Code.

          2.       On July 29, 2024, the Debtor filed a Motion for Authority to Sell Estate Property

 Located at 45 Liberty Street, Marlborough, Massachusetts at Private Sale Pursuant to 11 U.S.C.

 §363. See Dkt. 104.

          3.       On July 30, 2024, the Notice of Intended Sale of Estate Property Deadline for

 Submitting Objections and Higher Offers and Hearing Date of Debtor’s interest in real estate

 known as 45 Liberty Street, Marlborough, Massachusetts 01752 (“Property”) was entered setting

 a deadline of August 29, 2024. See Dkt. 105.

          4.       Creditor is a Secured Creditor holding an interest in Debtor’s real property on a

 First Mortgage.

          5.       The Motion states the Debtor has received an offer to purchase the property for the

 sum of $500,000.00 (the “Purchase Price”).

          6.       The amount due to Creditor good through September 1, 2024, is $269,233.11.

          7.       Creditor does not per se object to the Motion, so long as its loan is paid in full


 Response-Motion to Sell                           [1]
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subject to a proper payoff quote, that any sale short of the full payoff is subject to Creditor’s

preapproval, and that the Creditor is not required to release its lien until the outstanding mortgage

balance is paid in full.

        8.      Additionally, Creditor wants the Order to expressly grant it authority to

communicate with the title company and escrow officer, to ensure the Sale transaction is properly

handled.

        9.      Lastly, Creditor requests that the Order state the date and time of the closing, to

avoid any ambiguity as to when it will take place.

        WHEREFORE, requests that the Court allow the sale of the property subject to the

payment in full of its loan and that any sale short of the amount to pay the loan in full will be

subject to formal review and approval.

        Dated: August 14, 2024

                                              Respectfully submitted,

                                              /s/ Brian M. Kiser
                                              Brian M. Kiser, Esq., BBO#673022
                                              Marinosci Law Group, P.C.
                                              275 West Natick Road, Suite 500
                                              Warwick, RI 02886
                                              Telephone: (401) 234-9200
                                              bkiser@mlg-defaultlaw.com
                                              bkinquiries@mlg-defaultlaw.com




Response-Motion to Sell                          [2]
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                         UNITED STATES BANKRUPTCY COURT
                      DISTRICT OF MASSACHUSETTS (WORCESTER)

   IN RE:                                       Case No: 23-40098 (EDK)
                                                Chapter 13
   Fernando A. Neiva,

                           Debtor.



                                             Certificate of Service
         I, Brian M. Kiser, of Marinosci Law Group, P.C., do hereby certify that on August 14, 2024, I served a
  copy of the Response to Debtor’s Motion for Authority to Sell Estate Property Located at 45 Liberty
  Street, Marlborough, Massachusetts at Private Sale Pursuant to 11 U.S.C. §363, on the attached service
  list by mailing a copy of same by first class mail, postage prepaid or other method specified on service list.

           Signed this 14th day of August, 2024.

                                                   /s/ Brian M. Kiser
                                                   Brian M. Kiser, Esq., BBO#673022
                                                   Marinosci Law Group, P.C.
                                                   275 West Natick Road, Suite 500
                                                   Warwick, RI 02886
                                                   Telephone: (401) 234-9200
                                                   bkiser@mlg-defaultlaw.com
                                                   bkinquiries@mlg-defaultlaw.com


  VIA ECF:
  Cynthia Ravosa, Esq. on behalf of the Debtor
  Richard King, Esq., on behalf of the Assistant U.S. Trustee
  David A. Mawhinney, Esq., on behalf of the Trustee
  David T. Mazzuchelli, Esq., on behalf of Massachusetts Department of Revenue

  VIA U.S. REGULAR MAIL
  Fernando A. Neiva
  45 Liberty St
  Marlborough, MA 01752, Debtor




Response-Motion to Sell                                [3]
